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                       UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

ROBERT T. BROCKMAN,                      §
                                         §
             Plaintiff,                  §
                                         §
             v.                          §         Civil Action No. 4:22-cv-00202
                                         §
UNITED STATES OF AMERICA,                §
                                         §
             Defendant.                  §

                   DECLARATION OF KATHRYN KENEALLY

      I, Kathryn Keneally, declare as follows:

      1.     I am a member of the bar of the State of New York, the United States

Supreme Court, and various other federal courts. I am a partner of the law firm Jones Day,

counsel for Plaintiff Robert T. Brockman. I make this Declaration in support of Plaintiff

Robert T. Brockman’s Motion for Determination on Complaint for Judicial Review and

Abatement of Jeopardy Assessment and Jeopardy Levy Pursuant to 26 U.S.C. § 7429.

      2.     Attached hereto as Exhibit 1 is a copy of the Notice of Jeopardy Assessment

and Rights to Appeal, issued by the Internal Revenue Service (the “IRS”) on September 9,

2021 (FILED UNDER SEAL).

      3.     Attached hereto as Exhibit 2 is a copy of the Notice of Jeopardy Levy and

Right of Appeal, issued by the IRS on September 9, 2021 (FILED UNDER SEAL).

      4.     Attached hereto as Exhibit 3 is a copy of the Jeopardy Recommendation

Report (without exhibits, which total nearly 3,000 pages) that was appended to the Notice

of Jeopardy Assessment and Rights to Appeal (FILED UNDER SEAL).


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       5.      Attached hereto as Exhibit 4 is a copy of a Special Warranty Deed, dated

December 30, 1997, conveying Robert T. Brockman’s 50 percent interest in 333 West Friar

Tuck Lane, Houston, Texas 77024 to Dorothy K. Brockman.

       6.      Attached hereto as Exhibit 5 is a copy of an HAR.com listing for sale of 333

West Friar Tuck Lane, Houston, Texas 77024, which makes reference to the property’s

MLS number (20114033).

       7.      Attached hereto as Exhibit 6 is a copy of a General Warranty Deed, dated

March 9, 2005, conveying 335 West Friar Tuck Lane, Houston, Texas 77024 to Dorothy

K. Brockman.

       8.      Attached hereto as Exhibit 7 is a copy of an HAR.com listing for 335 West

Friar Tuck Lane, Houston, Texas 77024, which makes reference to the property’s MLS

number (54931128).

       9.      Attached hereto as Exhibit 8 is a copy of a General Warranty Deed, dated

December 11, 2020, conveying 335 West Friar Tuck Lane, Houston, Texas 77024 to a

third-party.

       10.     Attached hereto as Exhibit 9 is a copy of an Agreement Partitioning Certain

Existing Community Property, dated October 15, 2019, by and between Robert and

Dorothy Brockman, respecting 1731 Sunset Boulevard, Houston, Texas 77005.

       11.     Attached hereto as Exhibit 10 is a copy of a General Warranty Deed, dated

October 15, 2019, conveying Robert T. Brockman’s 50 percent interest in 1731 Sunset

Boulevard, Houston, Texas 77005 to Dorothy K. Brockman.




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       12.     Attached hereto as Exhibit 11 is a copy of an HAR.com listing for 1731

Sunset Boulevard, Houston, Texas 77005, which makes reference to the property’s MLS

number (32400123).

       13.     Attached hereto as Exhibit 12 is a copy of a General Warranty Deed, dated

May 11, 2021, conveying 1731 Sunset Boulevard, Houston, Texas 77005 to an unrelated

third-party.

       14.     Attached hereto as Exhibit 13 is a copy of a Gift General Warranty Deed,

dated November 6, 2020, conveying 3702 Inwood Drive, Houston, Texas 77019 to

Elizabeth Bellows Brockman.

       15.     Attached hereto as Exhibit 14 is a copy of a Notice to Purchasers Deed

Restrictions, dated November 6, 2020, by Dorothy K. Brockman and Elizabeth Bellows

Brockman, with respect to 3702 Inwood Drive, Houston, Texas 77019.

       16.     Attached hereto as Exhibit 15 is a copy of a correspondance dated February

2, 2021 by the Clerk of the Bermuda Court of Appeal in St. John’s Trust Company (PVT)

Ltd. v. Medlands (PTC) Ltd., Civil Appeal No. 8 of 2020 (Bermuda Court of Appeal), a

companion action to In the Matter of the Trust Settled by A Eugene Brockman on 26 May

1981 for the Benefit of his Children and Charities and in the Matter of the Trustee Act

1975, Dorothy Kay Brockman v. Medlands (PTC) Limited, et. al., 2020: No. 476 (Supreme

Court of Bermuda).

       17.     Attached hereto as Exhibit 16 is a copy of an Approved Judgment by the

Bermuda Court of Appeal, dated December 22, 2021, in St. John’s Trust Company (PVT)

Limited v. Medlands (PTC), et al, 2018: No. 376.


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      18.      Attached hereto as Exhibit 17 is a copy of an Order of the Supreme Court of

Bermuda, dated March 26, 2021, In the Matter of the “B” Trust, Medlands (PTC) Limited

v. St. John’s Trust Company (PVT) Limited, et al, 2018: No. 376 (Supreme Court of

Bermuda) and In the Matter of the Trust Settled by A Eugene Brockman on 26 May 1981

for the Benefit of his Children and Charities and in the Matter of the Trustee Act 1975,

Dorothy Kay Brockman v. Medlands (PTC) Limited, et. al., 2020: No. 476 (Supreme Court

of Bermuda).

      19.      Attached hereto as Exhibit 18 is a copy of an IRS Form 3520, Creation of or

Transfers to Certain Foreign Trusts, dated August 24, 1981, by Alfred Eugene Brockman.

      20.      Attached hereto as Exhibit 19 are copies of excerpts from the transcript of

the Competency Hearing, Afternoon Session, held on November 17, 2021, in the case of

United States v. Brockman, No. 4:21-CR-00009.

      21.      Attached hereto as Exhibit 20 are copies of excerpts from the transcript of

the Competency Hearing, AM Session, held on November 17, 2021, in the case of United

States v. Brockman, No. 4:21-CR-00009.

      I declare under penalty of perjury that the foregoing is true and correct.

Executed in New York, New York on January 21, 2022.



                                                 /s/ Kathryn Keneally
                                                 Kathryn Keneally




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                    EXHIBIT 2
                    (SEALED)
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                    EXHIBIT 3
                     (SEALED)
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                    EXHIBIT 5
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                  333 W Friar Tuck Lane
                  Houston, TX 77024
                                                                                     $ 14,750,000
                                                                                          For Sale

                                                                                     Single-Family

                                                                                     6 Beds
                                                                                     8 Bath
                                                                                     17,192 Built Sqft./Appraisal District
                                                                                     4 Acre(s)
                                                                                     247 Days on Market
A magnificent colonial estate in the heart of Memorial one of Houston’s most
prestigious st.The 4 +acre secluded estate is 2 miles from The Galleria w/a
private lake, tennis court & pool lot can be subdivided. Grounds have infrared
beams surrounding home & security cameras. Soaring ceiling w/marble floors
& self suspending staircase invites you into a foyer that floats into an exquisite
formal dining room w/new Gracie wallpaper (morning room as well) All 3 floors
have refinished walnut floors.Office/den is all mahogany panel w/ floor
windows throughout the house that have shutters that close in case of a storm.
Security and cooling system for the house is computer monitor & control.
Home features 3 levels, 5 bedrooms, 4 full baths, 3 half baths, quest house
w/large living area bedroom full kitchen & two bathrooms. Quarters apartment
w/full kitchen, 7 cars garage a/c, 4 year old (200 Kilowatts)generator for entire
house, 2 large storage buildings, a water well for the lawn

General Description
MLS#:                  20114033 (HAR)                               Listing Price:        $ 14,750,000 ($857.96/sqft.)
                                                                                              Reduced 3.91%

Listing Status:               For Sale                              Address:              333 W Friar Tuck Lane

                                                                    City:                 Houston

State:                 TX                                           Zip Code:             77024

County:                Harris County                                Subdivision:          Sherwood Forest

Legal Description:     TR 2 ABST 785 E B COGSWELL                   Property Type:        Single-Family

Bedrooms:              6 Bedroom(s)                                 Baths:                8 Full & 4 Half Bath(s)

Garage(s):             7 / Detached,Oversized,Tandem                Stories:              3

Style:                 Colonial                                     Year Built:           1945 / Appraisal District

Building Sqft.:        17,192 /Appraisal District                   Lot Size:             4.06 Acres /Appraisal District

Key Map©:              491F                                         Market Area:          Memorial Close In

Rooms/ Lot Dimensions
Living:                30 X 28.5, 1st                               Den:                  20 X 12.6, 1st

Dining:                27.5 X 20, 1st                               Kitchen:              19 X 16, 1st

Breakfast:             21 X 15, 1st                                 Primary Bedroom:      33 X 21.5, 2nd

Bedroom:               19 X 15.5, 2nd                               Bedroom:              21.8 X 15, 2nd

Bedroom:               19 X 15.5, 2nd                               Bedroom:              17 X 13.8, 1st

Primary Bath:          29 X 26, 2nd                                 Game Room:            35 X 18.8, 3rd

Extra Room:            53 X 10, 1st                                 Extra Room:           8 X 7, 3rd

Quarters/Guest         32 X 19, Other                               Guest Suite:          31 X 29, 2nd
House:                                                              Sunroom:              22 x 18, 1st
Case  4:22-cv-00202
Room Description:            Document
                  Breakfast Room, Den, Family 10-1
                                              Room, Filed on 01/21/22 in TXSD Page 25 of 131
                      Formal Dining, Formal Living,
                      Gameroom Up, Garage Apartment,
                      Guest Suite, Guest Suite w/Kitchen,
                      Living Area - 1st Floor, Living Area - 2nd
                      Floor, Living Area - 3rd Floor, Quarte,

Interior Features
Fireplace:            6/Gaslog Fireplace                           Countertop:        granite / marble

Floors:               Marble Floors, Wood                          Bedroom            All Bedrooms Up, En-Suite Bath,
                                                                   Description:       Primary Bed - 2nd Floor, Sitting Area,
                                                                                      Wa k-In Closet

Kitchen Description: Breakfast Bar, Instant Hot Water, Pantry,     Bathroom           Primary Bath: Double Sinks, Half Bath,
                      Pots/Pans Drawers, Under Cabinet             Description:       Primary Bath: Separate Shower,
                      Lighting                                                        Primary Bath: Soaking Tub, Two Pri

Heating:              Central Gas, Other Heating, Zoned            Cooling:           Central Electric, Central Gas, Other
                                                                                      Cooling, Zoned

Connections:          Electric Dryer Connections, Washer           Ice Maker:         Yes
                      Connections                                  Microwave:         Yes

Oven:                 Double Oven                                  Range:             Gas Range

Disposal:             Yes                                          Dishwasher:        Yes

Energy Feature:       Attic Fan, Attic Vents, Ceiling Fans,        Interior:          2 Staircases, Alarm System - Owned,
                      Digital Program Thermostat, Energy                              Balcony, Crown Molding,
                      Star Appliances, Generator, High-                               Drapes/Curtains/Window Cover,
                      Efficiency HVAC, HVAC>13 SEER,                                  Elevator, Fire/Smoke Alarm, Formal
                      Wind Turbine                                                    Entry/Foyer, High Ceiling, Refrigerator
                                                                                      Included

Exterior Features
Roof:                 Slate                                        Foundation:        Slab, Slab on Builders Pier

Private Pool Desc:    Gunite, Heated                               Private Pool:      Yes

Exterior Type:        Brick, Other                                 Lot Description:   Cul-De-Sac, Water View

Water Amenity:        Lake View                                    Garage Carport:    Additional Parking, Auto Driveway Gate,
                                                                                      Auto Garage Door Opener, Circle
                                                                                      Driveway, Double-Wide Driveway,
                                                                                      Driveway Gate, Golf Cart Garage, RV
                                                                                      Parking

Controlled Access: Automatic Gate, Driveway Gate                   Water Sewer:       Public Sewer, Public Water, Well

Unit Location:        Cul-De-Sac, Water View                       Front Door Face:   East

Neighborhood Information
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                  335 West Friar Tuck
                  Houston, TX 77024
                                                                                    $3,830,001 - $4,418,000
                                                                                                      Recently Sold on:
                                                                                    12/11/2020
                                                                                    Lots

                                                                                    67,518 Lot Sqft./Survey
                                                                                    1 Day On Market



Absolutely a rare fine in one of Memorial’s most prestigious streets. In a very
private secluded street off W. Friar Tuck Lane that dead end. Fenced on three
sides with a wrought iron fence and a partial driveway. Beautifully landscaped
with majestic trees some with tree lights. Previously had a working sprinkler
system on this approx. 1.55 acre lot.



General Description
MLS#:                 54931128 (HAR)                               Sold Price Range:       $3,830,001 - $4,418,000

Listing Status:              Sold                                  Address:                335 West Friar Tuck

                                                                   City:                   Houston

State:                TX                                           Zip Code:               77024

County:               Harris County                                Subdivision:            Sherwood Forest

Legal Description:    LT 8 SHERWOOD FOREST SEC D                   Property Type:          Lots

Lot Size:             67,518 Sqft. /Survey                         Maintenance Fee:        $ 2377 / Annually

Key Map©:             491G                                         Market Area:            Memorial Close In




Neighborhood Information
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                  1731 Sunset Boulevard
                  Houston, TX 77005
                                                                                     $1,242,001 - $1,425,000
                                                                                                         Recently Sold on:
                                                                                      05/11/2021
                                                                                     Townhouse/Condo - Townhouse

                                                                                     3 Beds
                                                                                     4 Bath
                                                                                     4,394 Built Sqft./Appraisal District
                                                                                     2,710 Lot Sqft./Appraisal District
                                                                                     1 Day On Market
EXTENSIVE WORK RECENTLY COMPLETED: New master shower, all
exterior stucco & balconies renovated.Repairs were driven by an inspection
report.This stunning unique home w/a flare of London in a courtyard that offers
a country setting inside a gated community.The stately English townhouses
w/cobblestone drives & majestic oaks trees invite you to a truly meticulously 4
story home.The home has it own private driveway/garage entrance on the
back street of complex. Min.from the medical center, prestigious Rice
University & shopping.Has been extensively upgraded w/walnut floors & w/new
designer Stark wool carpet on stairs. Barrier doors in master bedroom
w/security camera & alarm. 3rd fl. features an exceptional recreational room
w/wet bar. Generous outdoor terrace w/a breathtaking view of Rice
University.The HOA covers exterior of the property: roof, gutters, painting,
landscaping, security gates, exterminaing for the exterior, sprinkler system,
trash pick up, water & all exterior lighting.

General Description
MLS#:                   32400123 (HAR)                             Sold Price Range:      $1,242,001 - $1,425,000

Listing Status:                Sold                                Address:               1731 Sunset Boulevard

                                                                   City:                  Houston

State:                  TX                                         Zip Code:              77005

County:                 Harris County                              Subdivision:           Cheyne Wa k Sec 02 Amd Pla

Legal Description:      LT 9 BLK 1 CHEYNE WALK SEC 2               Property Type:         Townhouse/Condo - Townhouse
                        AMEND                                      Bedrooms:              3 - 4 Bedroom(s)

Baths:                  4 Full & 1 Half Bath(s)                    Garage(s):             2 / Attached,Tandem

Stories:                4                                          Style:                 English,French

Year Built:             2006 / Appraisal District                  Building Sqft.:        4,394 /Appraisal District

Lot Size:               2,710 Sqft. /Appraisal District            Maintenance Fee:       $ 8000 / Annually

Key Map©:               532D                                       Market Area:           Rice/Museum District

Rooms/ Lot Dimensions
Kitchen:                17 X14, 2nd                                Primary Bedroom:       23 X 16, 3rd

Bedroom:                14 X 10, 3rd                               Bedroom:               15 X 15, 4th

Primary Bath:           3rd                                        Study/Library:         15 X 10, 1st

Room Description:       1 Living Area, Breakfast Room,
                        Gameroom Up, Living Area - 3rd Floor,
                        Study/L brary, Utility Room in House,

Interior Features
Fireplace:              2/Gaslog Fireplace                         Countertop:            granite
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                    EXHIBIT 14
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                The Court of Appeal for Bermuda
BY EMAIL / BY HAND

                                                                                                   2 February 2021


Marshall Diel & Myers Ltd
31 Reid Street
Hamilton HM 12
Attn: Katie Tornari

Dear Counsel,

Re:     Civil Appeal No. 8 of 2020 – St. John’s Trust Company (PVT) Ltd. v Medlands (PTC)
        Ltd et al

I am directed by the Court of Appeal to issue the following correspondence.

The appeal in relation to Civil Appeal No. 8 of 2020 is dismissed with reasons to follow.

The Court is, however, satisfied that a new independent institutional trustee should be appointed
and that this Court has power to, and should, make that appointment by this Order.

Accordingly, Medlands (PTC) Ltd shall be discharged as trustee of the B Trust and replaced as
trustee by the Bermuda Trust Company Limited (“BTC Ltd”) with effect from a date and on such
terms as to BTC Ltd’s appointment as may be directed by Subair Williams J, upon hearing from
such of the 1st, 2nd, 3rd, 6th and 9th Respondents and BTC Ltd as wish to appear on such application
(but with no other party to this appeal having standing to appear or present evidence or submissions
in relation to the matter) at a hearing to be fixed at a time as soon as practicable which is convenient
to Subair Williams J.

The Court will hear the parties as to the costs of the Appeal by way of written submissions not
exceeding 15 pages to be submitted within 14 days of the delivery of the reasons for judgment.

The Court invites the parties to agree and submit a draft of the order which we now pronounce.


                                                Yours faithfully,



                                         Audley Quallo
                                CLERK OF THE COURT OF APPEAL


   Court of Appeal Registry • 3rd Floor, Dame Lois Browne-Evans Building • 58 Court Street • Hamilton HM12 • Bermuda
             Phone: (441) 279-1771 • Fax: (441) 292-2268 • Website: www.gov.bm • Email: aquallo@gov.bm
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cc:        Conyers Ltd/ Jeffrey Elkinson, Ben Adamson (1st Respondent)
           AGs Chambers/ Shakira Dill-Francois, Lauren Sadler-Best (2nd Respondent)
           Cox Hallett Wilkinson Ltd/ David Kessaram, Matthew Watson (3rd Respondent)
           Carey Olson/ Kevin Richardson, Kyle Masters (4th & 7th Respondent)
           (Appleby (Bermuda) Ltd (Steven White) for the 5th Respondent
           Kennedys Chudleigh Ltd (Lewis Preston) for the 6th Respondent
           Canterbury Law Ltd/ Paul Harshaw, Julica Harvey (8th Respondent)
           Hurrion & Associates/ Sarah-Jane Hurrion (9th Respondent)




      Court of Appeal Registry • 3rd Floor, Dame Lois Browne-Evans Building • 58 Court Street • Hamilton HM12 • Bermuda
                Phone: (441) 279-1771 • Fax: (441) 292-2268 • Website: www.gov.bm • Email: aquallo@gov.bm
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Approved judgment by the Court for handing down    St. John’s Trust Company (PVT) Ltd v Medlands (PTC) Ltd & Ors




         Neutral Citation Number: [2021] CA (Bda) 20 Civ

                                                                                    Case No: Civ/2020/8

         IN THE COURT OF APPEAL (CIVIL DIVISION)
         ON APPEAL FROM THE SUPREME COURT OF BERMUDA SITTING IN ITS
         ORIGINAL CIVIL JURISDICTION
         THE HON. JUSTICE SUBAIR WILLIAMS
         CASE NUMBER 2018: No. 376

                                                                                        Sessions House
                                                                             Hamilton, Bermuda HM 12

                                                                                        Date: 22/12/2021
                                                  Before:

                THE ACTING PRESIDENT, JUSTICE OF APPEAL ANTHONY SMELLIE
                       JUSTICE OF APPEAL DAME ELIZABETH GLOSTER
                                           and
                        JUSTICE OF APPEAL CHARLES-ETTA SIMMONS
                                  ---------------------
                                         Between:

                               ST JOHN’S TRUST COMPANY (PVT) LIMITED
                                                                                               Applicant
                                                    -v-

                                        (1) MEDLANDS (PTC) LIMITED
                                      (2) THE ATTORNEY GENERAL
                                    (3) ROBERT THERON BROCKMAN
                               (4) BERMUDA TRUST COMPANY LIMITED
                                (5) HSBC PRIVATE BANK (C.I.) LIMITED
                                             (6) MARTIN LANG
                             (7) GROSVENOR TRUST COMPANY LIMITED
                                      (8) EVATT ANTHONY TAMINE
                                        (9) DOROTHY BROCKMAN

                                                                                            Respondents
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Approved judgment by the Court for handing down        St. John’s Trust Company (PVT) Ltd v Medlands (PTC) Ltd & Ors




         Edward Cumming QC, instructed by Mark Deil and Katie Tornari of Marshall Deil & Myers for
                                             the Appellant

                   Robert Ham QC instructed by David Kessaram of CHW Ltd for the First Respondent.

                 Shakira Dill-Francois, Deputy Solicitor General and Lauren Sadler-Best, Crown Counsel
                                           for the Second Respondent.

          Keith Robinson of Conyers Olsen (Bermuda) Limited for the Fourth and Seventh Respondents

               Steven James White and Sam Riihiluoma of Appleby (Bermuda) Limited for the Fifth
                                                 Respondent

          John Machell QC, instructed by Lewis Preston of Kennedy Chudleigh for the Sixth Respondent.

               David Brownbill QC, instructed by Paul Harshaw of Canterbury Law Limited, for the
                                            Intervening Respondent.

           Francis Treager QC, instructed by Sarah-Jane Hurrion of Hurrion and Associates Ltd, for the
                                               Ninth Respondent.

                                   Hearing dates: 25th, 26th and 27th January 2021
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                                           APPROVED JUDGMENT




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   SMELLIE JA:

   1.    The Appellant, St John’s Trust Company (PVT) Limited (‘SJTC”), acting at the directions or
         behest of the Intervening Respondent Mr Evatt Tamine (“Mr Tamine”), appealed against orders
         of the Supreme Court (per Subair Williams J), made in trust administration proceedings in Cause
         2018: No. 376 instituted by the Appellant itself, then acting by Mr James Gilbert (“Mr Gilbert”)
         as its sole director (“the Administration Proceedings”). The orders under appeal were made on
         1 November 2019 and 19 December 2019 (respectively the “November” and “December”
         Orders or together “the Orders”).

   2.    Among other things, by the Orders the learned judge ordered that SJTC be replaced as trustee of a
         very valuable trust known as the A. Eugene Brockman Charitable Trust, (“the Brockman Trust”)
         by Medlands (PTC) Limited, the 1st Respondent (“Medlands”).

   3.    Upon SJTC’s appeal coming on for hearing, the Court, having read the Record of Appeal and the
         written submissions of all parties, invited the parties to address at the outset an issue which had
         been articulated in an email sent on behalf of the Court on 22 January 2021, in the following terms:

               “The Court is concerned to be clear about what it is that the Appellant really seeks to
               achieve by the appeal, given that even if it succeeds in setting aside the November and
               December Orders, it has been resolved by the human beneficiaries of the Trust [charity
               also being a beneficiary] that another trustee shall be appointed in any event.
               Accordingly, at the start of the hearing, the Court intends to consider whether (the
               Court) should not simply proceed to make an order of the kind proposed by Mrs
               Brockman (the 9th Respondent) in the New Proceedings [(those filed by her on 3
               December 2020 in Cause 2020:No. 476)] in keeping with section 8 of the Court of
               Appeal Act and as proposed in the 6th Respondent’s (Mr Lang’s, the Trust Protector’s)
               Notice and Submissions”.

   4.    The order proposed both by the 6th Respondent, Mr Lang (the Protector of the Brockman Trust)
         and Mrs Brockman, is one appointing a new professional trustee, to be regarded objectively as
         independent and experienced, to take over the trusteeship of the Brockman Trust. In Cause
         2020:No. 476 in the Supreme Court (“the New Proceedings”), Mrs Brockman had also applied
         for such an order and to be herself appointed to represent the interests of the human beneficiaries
         of the Brockman Trust.

   5.    Arguments were heard over the course of three days on the 25, 26 and 27 January 2021 and, on 2
         February 2021, judgment was delivered in the following terms:

               “It is HEREBY ORDERED that:
               1.       The appeal against the Orders of Subair Williams J dated 1 November 2019
               and 19 December 2019 be dismissed, with reasons to follow.

               2.       Medlands (PTC) Limited shall be discharged as trustee of the Trust and
               replaced as trustee by BCT Limited, Incorporation Number 368764, whose registered
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               office address is PO Box 309, Ugland House, Grand Cayman, KY1-1104, Cayman
               Islands with effect from a date and on such terms as to BCT Limited’s appointment
               and Medlands (PTC) Limited’s discharge as may be directed by Subair Williams J,
               upon hearing from such of the 1st, 2nd, 3rd, 6th and 9th Respondents and BCT Limited
               as wish to appear (but with no other party to this appeal having standing to appear or
               present evidence or submissions in relation to the matter) at a hearing in the
               proceedings pending before the Supreme Court of Bermuda in Civil Jurisdiction Case
               No 2020: 476 to be fixed at a time as soon as practicable which is convenient to Subair
               Williams J.

               3.       The Court will hear the parties as to costs of the appeal by way of written
               submissions, not exceeding 15 pages, to be submitted within 14 days of the delivery of
               reasons for judgment.

               4.       …”

   6.    These are the reasons for our previous order.

         Background to the appeal

   7.    This appeal arises against a background of litigation in a number of jurisdictions, including
         Bermuda, the United States and England. In Supreme Court Cause 2019: No. 447 the action is
         between, on the one hand SJTC, Mr Tamine, Mr Glenn Ferguson (“Mr Ferguson”) and Mr James
         Watlington (“Mr Watlington”) and, on the other hand, Medlands and Mr Gilbert. (“the
         Corporate Proceedings”).

   8.    In the Corporate Proceedings, there is a dispute over control of SJTC and its role in relation to the
         Brockman Trust and ultimately over control of the Brockman Trust itself. However, it is a dispute
         which is relevant to this appeal, only insofar as it goes to the authority of Mr Gilbert to have acted
         on behalf of SJTC, by instituting the Administration Proceedings before Subair Williams J. which
         led to the making of the November and December Orders. As mentioned above, the Orders
         resulted, among other things, in the removal of SJTC and its replacement by Medlands as trustee
         of the Brockman Trust.

          9. SJTC’s complaints which inform its grounds of appeal in this action are, to the effect, that Mr
             Gilbert had no authority to act on its behalf in the Administration Proceedings; that
             consequently it was not properly a party to those proceedings; that the Orders were therefore
             made in breach of its constitutional rights to a fair hearing; and were therefore made in breach
             of natural justice and should be set aside. In this regard, SJTC lays great store by the fact that
             Mr Gilbert was ultimately later found by the learned Chief Justice in his judgment of the 26
             March 2020 in the Corporate Proceedings, to have lacked authority to commence the
             Corporate Proceedings on 1 November 2019 on behalf of SJTC and to represent SJTC, not
             only in those proceedings but in the Administration Proceedings as well (see [87] of his



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               Judgment) 1. It is therefore submitted that, by implication, Mr Gilbert also lacked authority
               acting alone as he did, to represent SJTC at any time after 25 October 2019 (when Messrs
               Watlington and Ferguson were appointed as directors of SJTC) in the Administration
               Proceedings.

   10.   This all developed in a context where SJTC itself, purportedly acting by Mr Gilbert, had instituted
         the Corporate Proceedings to obtain, and had obtained ex parte on 6 November 2019, an injunction
         to prevent Messrs Ferguson and Watlington from purporting to act as directors of SJTC. By the
         writ instituting the Corporate Proceedings, SJTC acting by Mr Gilbert, also sought declarations
         that the appointment of Messrs Ferguson and Watlington as directors of SJTC, although
         purportedly effected by written resolution of Cabarita as the sole shareholder of SJTC on 25
         October 2019, was void and of no effect and that Messrs Ferguson and Watlington had no authority
         to act on behalf of SJTC. By his judgment of 26 March 2020, the learned Chief Justice rejected
         those claims and ordered instead that the writ be struck out and that the ex parte injunction of 6
         November 2019 restraining Messrs Ferguson and Watlington from acting as directors of SJTC, be
         discharged.

   11.   A specific consequence of the judgment of the 26 March 2020 for which SJTC contends on this
         appeal, in relation to the Administration Proceedings after 25 October 2019 when Mr Gilbert acted
         in them without the knowledge or approval of Messrs Ferguson and Watlington, is that SJTC was
         not properly a party to those proceedings and so should not be bound by the Orders which, as we
         have seen, were made in them after that date.

   12.   To the extent that further consideration of the dispute in the Corporate Proceedings will be of
         significance to the present appeal, it will be discussed below.

   13.   At this juncture, the foregoing juxtaposition of the Corporate and Administration Proceedings sets
         the context for the framing of the first essential question for consideration on the appeal, which
         was whether SJTC as trustee (whether de jure or de son tort) 2, may seek to set aside orders
         otherwise validly made in the context of trust administration proceedings in exercise of the

         1
           It is emphasized that at all material times the byelaws of SJTC stipulated that its directors can only act by a
         majority. On 25 October 2019 the sole member of SJTC, Cabarita (PCT) Ltd (Cabarita) (acting by Mr Tamine its sole
         shareholder) had appointed Mr Watlington and Mr Ferguson as directors alongside Mr Gilbert. The validity of all
         steps taken subsequently by Mr Gilbert acting alone in the Administration Proceedings are therefore impugned.
         However, for reasons which will become apparent below, the timing of steps taken in the Administration
         Proceedings is of some significance.
         2
           This question about SJTC’s true status as trustee arises in the context of historical issues in the administration of the
         Brockman Trust which were also raised for resolution in the Administration Proceedings and addressed in the Orders.
         As those historical issues are of tangential significance here, there will be no need to consider them in detail. It will
         suffice at this juncture to note that a detailed opinion from Mr Dakis Hagen QC and Emma Hargreaves of counsel
         (“the Hagen/Hargreaves Opinion”) was obtained and presented in the Administration Proceedings. As Mr Gilbert
         explains at [24] to [29] of his affidavit, the need for it arose as a result of the discovery of various constitutional issues
         arising from documents disclosed by Mr Tamine pursuant to orders made against him in proceedings in England. The
         Hagen/Hargreaves opinion was presented to Justice Subair-Williams and helped to inform the provisions of the Orders
         granted by her to address those issues and hence the appointment of Medlands as trustee to replace and resolve any
         uncertainty about the status of SJTC’s appointment as trustee.

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         longstanding supervisory jurisdiction and discretionary powers of the court and intended to protect
         and affect not SJTC’s but the interests of the beneficiaries, on the basis that in those proceedings,
         its own rights as trustee (whether de jure or de son tort) to proper representation and a fair hearing,
         were allegedly breached.

   14.   However, a second and perhaps even more fundamental issue arose, and that which most directly
         led this Court to adopt the course it did at the outset, which was whether, if in any event, SJTC
         could not properly (and did not itself propose on this appeal that it should) be reappointed as
         trustee, there was any worthwhile purpose to be served in allowing it to prosecute this appeal,
         potentially at the expense, and to the detriment, of the proper ongoing administration of the
         Brockman Trust. It appeared to this Court, that even if SJTC could establish that it had a right to
         be heard in the Administration Proceedings which was breached, the real question nonetheless for
         this Court, this being an appeal from those proceedings, would be whether it is in the paramount
         interests of the beneficiaries of the Trust, rather than those of SJTC itself, for the Orders to be set
         aside as SJTC proposed.

   15.   By way of further background, it is also very relevant in this regard to record, that, in light of Mr
         Tamine’s potential control of SJTC through his company Cabarita (as will be discussed further
         below), there are serious and ongoing proceedings against Mr Tamine himself (in Cause 2018: No.
         390,“the Tangarra Proceedings”), for misappropriation of trust funds. On 6 November 2018,
         SJTC (acting through Mr Gilbert in his then undisputed capacity as sole director of SJTC)
         commenced the Tangarra Proceedings against Mr Tamine.

   16.   The allegations underlying the claim – allegations which Mr Tamine denies - are that he
         committed fraudulent breaches of fiduciary duty and/or breaches of trust by (among other things):
         (1) in March 2016, causing USD 5.395 million to be transferred from the Brockman Trust to his
         personal company, Tangarra Consultants Limited (“Tangarra”); (2) in August 2018, causing a
         further USD 16.8 million to be transferred from the Brockman Trust to Tangarra; and (3) in
         October 2018, failing to return USD 5 million of the Trust’s money purportedly paid under SJTC’s
         Bye-laws (when SJTC was trustee de jure or de son tort) into an account held by Mr Tamine’s
         English solicitors. This Court was informed that Mr Tamine and Tangarra have agreed, on a
         without prejudice basis, to repay the sums referred to above (totalling USD 27.195 million).

   17.   While it was not necessary for resolution of this appeal for this court to pass comment upon the
         merits of the claim in the Tangarra Proceedings, it is worth noting Mr Tamine’s assertion (at [13.1]
         and [67] of his Defence therein), that he caused USD15.4 million of the USD16.8 million payment
         referred to above to be paid “as an advance in relation to services that it was envisaged [he] would
         provide in future (over a period of 6 years)”. As Mr Tamine had resigned as a director of SJTC on
         28 September 2018, even on his pleaded case it is likely that SJTC (assuming it will continue to
         press the claim in light of the developments to be next discussed) and through it the Trust, will
         have a clear case for return of at least the bulk of these payments.

   18.   Cabarita is the sole shareholder of SJTC and Mr Tamine is Cabarita’s sole shareholder. As the
         owner and controlling mind of the parent of SJTC, there were concerns raised by Mr Gilbert before
         Subair Williams J (and emphasized before this Court by both the Protector, Mr Lang and Mrs
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         Brockman) that Mr Tamine, although not himself a director, retains ongoing control of SJTC. As
         mentioned above, on 25 October 2019, Mr Tamine had procured Cabarita to appoint Mr Ferguson
         and Mr Watlington as additional directors of SJTC. While there are no imputations raised against
         these two professional men of good standing, the real concern, should SJTC be reappointed as
         trustee, is that Mr Tamine would retain the ability to remove them and appoint other directors who
         would do his bidding thereby, in effect, retaining control of SJTC.

   19.   In this regard, it is therefore important to note that the third paragraph of the December Order
         records that Subair Williams J was of the opinion that SJTC was not a proper and appropriate
         candidate for appointment as trustee of the Brockman Trust and that “any new trustee should be
         an entity unrelated and unconnected to Mr Tamine (against whom the new trustee of the
         Brockman) Trust will, if so advised, be continuing the current proceedings 2018:No. 390).” That
         view clearly lead to her decision to remove SJTC and to replace it with Medlands.

   20.   Also by way of background, the Court notes that there is an ongoing investigation by the United
         States Department of Justice (“DOJ”) and Internal Revenue Service into allegations of tax fraud,
         relating to the way in which the Brockman Trust was operated at a time when SJTC was the trustee.
         Indeed, as the Appellate Record shows, the DOJ submitted to the Chief Justice in the Corporate
         Proceedings that SJTC was at the heart of the alleged fraud (see Judgment of 26 March 2020 at
         [15])3. Mr Tamine is a co-operating witness in the investigation, having testified before a Grand
         Jury in terms which may be regarded as opposed to the interests of the Brockman Trust.

   21.   Finally, by way of background most relevant for present purposes, while the Brockman Trust has
         members of the Brockman family among its discretionary beneficiaries, significant distributions
         have been made only in furtherance of its charitable activities. These are extensive and involve
         ongoing commitments. It is averred by Mrs Brockman in her affidavit in the New Proceedings
         (which was also presented to this Court on the Appeal), that the current circumstances are impeding
         the proper operation of the Trust and, in particular, its charitable activities. Her stance taken on
         this appeal (through Counsel) is that the appeal is a waste of time, money and court resources.

   22.   She describes the monthly rate of expenditure by the Trust on legal fees as “eye-watering” and
         submits that, while the appeal arises in trust litigation, the issues raised by the Appellant SJTC are
         of no direct interest or benefit to the Trust and the relief sought by SJTC promises nothing but
         uncertainty for the beneficiaries (as the outcome which SJTC seeks would return affairs to the
         status quo ante the November and December Orders), further legal costs and the promotion of only
         the interests of SJTC and Mr Tamine.

   23.   The Court has paid particular regard to certain passages in Mrs Brockman’s affidavit, together
         with the contents of the Notice by the Sixth Respondent filed pursuant to Order 2, Rule 13, in

         3
           More especially, the DOJ alleges that the assets of Point Investment Limited (PIL), a company within the Trust
         structure formerly controlled by SJTC with assets worth some USD1.3 billion, in fact belong to Mr Robert Brockman
         and that he failed properly to report them to the United States Internal Revenue Service in evasion of tax obligations.
         Mr Brockman entered a plea of not guilty to the Indictment on 15 October 2020 (See affidavit of Dorothy Brockman
         filed in the New Proceedings at [34].

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         relation to the issue which the court required to be addressed at the outset of the hearing. Significant
         passages from Mrs Brockman’s affidavit are the following; they address the purpose of the
         application made by her in the New Proceedings and the purposes and current state of affairs of
         the Brockman Trust itself:

               “5. I am a discretionary beneficiary of the Trust, and I swear this affidavit in support
               of the orders applied for in the Originating Summons in my capacity as a discretionary
               beneficiary of the Trust for the replacement of the First Defendant, Medlands, as
               trustee of the Trust with BCT Limited (BCT), a wholly owned controlled subsidiary of
               Maples FS Limited (Maples FS), which is a well-regarded, regulated and professional
               institutional trustee.

               6. As described in more detail herein, I make this application in the vital interests of
               the Trust. Over the last two years, the Trust has become embroiled in costly, complex
               and acrimonious litigation culminating in, at its essence, a dispute over which, as
               between the current trustee, Medlands, and (SJTC), is the proper trustee of the Trust.

               7. As to Medlands, they were appointed as trustee pursuant (to the December Order)
               which was issued by Mrs Justice Subair Williams and which is under appeal. Also,
               and as I explain further below, on 2 December 2020, Medlands gave 90 days written
               notice of its resignation as trustee of the Trust to Martin Lang in his capacity as the
               Protector of the Trust (and the Third Defendant in these proceedings)(the Protector).
               Medlands’ resignation is effective on 2 March 2021.

               8. As to SJTC, the circumstances leading up to the appointment of Medlands caused
               the individual human beneficiaries of the Trust to consider SJTC unsuitable as a
               trustee for the future. It is sufficient for these purposes to refer to the indictment against
               my husband, Robert Theron Brockman [(a copy of which she exhibits to her affidavit
               and which bears out the concerns about SJTC mentioned at [19] above)].

               9. This complicated situation has left the Trust in a state of illiquidity, jeopardizing its
               charitable operations and the overall management of the Trust’s substantial assets.
               Having identified BCT to be a fit, proper and willing institutional trustee candidate to
               operate under the Maples FS global brand, I make this application to appoint BCT
               Limited to replace Medlands.

               10. BCT is a controlled subsidiary of Maples FS, which is a licensed trust company in
               the Cayman Islands and subject to the regulations of the Cayman Islands Monetary
               Authority (CIMA) and as such is authorized by CIMA to act as a trustee. BCT will be
               able to draw on the personnel, expertise and infrastructure of Maples FS. I understand
               that BCT can properly be considered as a part of Maples FS and to be fit to act as the
               trustee and as a fit and proper entity to be the trustee. As ([confirmed by letter from
               BCT which she exhibits] BCT is ready willing and able and has consented to act as
               trustee of the Trust.


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               11. The First Defendant, Medlands, is, I understand [(an understanding confirmed to
               this Court by Counsel Mr Robert Ham QC appearing on the appeal for Medlands)]
               supportive of the application and has agreed to assist in the transition to BCT of the
               administration of the Trust, if BCT is appointed as trustee.

               12. The Second Defendant, the Attorney General, is named in the proceedings in view
               of the potential charitable beneficiaries of the Trust. My Bermuda attorneys, Hurrion
               & Associates Ltd (Hurrion), wrote to the Attorney General by letter dated 18
               December 2020 inviting her to agree to the appointment of BCT as trustee of the Trust
               in place of Medlands. (exhibiting a copy of that letter.) On 22 December 2020, the
               Attorney General confirmed that she did not object to the application but, due to the
               narrow role the AG has in the proceedings, neither did she consent. (a copy of the
               Attorney General’s letter is also exhibited). [(At the hearing of the appeal Counsel
               appearing on behalf of the Attorney-General confirmed that the AG maintained the
               neutral position taken from the outset in the Administration Proceedings and had no
               objection to the appointment of BCT subject to assurances as to the independence of
               the MapleFS appointee being obtained)].

               13. The Third Defendant, Martin Lang in his capacity as Protector of the Trust, is, I
               understand, supportive of the application and entirely endorses the suitability and
               appointment of BCT. [This understanding was confirmed to be correct at the hearing
               of the appeal by Mr John Machell QC on behalf of Mr Lang].Given that Mr Lang’s
               appointment as Protector is being challenged by SJTC and Mr Evatt Tamine (a former
               director of SJTC) in the current appeal in the (Administration Proceedings), I make
               this application for the Court to appoint BCT as the new trustee in place of Medlands
               rather than ask Mr Lang to exercise the protector’s power to appoint a new trustee. If
               Mr Lang were to exercise his protector power to appoint BCT as the new trustee, that
               might simply open a further front of further litigation by SJTC and/or Mr Tamine.

               14. … at a recent hearing in the (Corporate Proceedings), counsel [(Mr Edward
               Cumming QC)] for James Watlington and Glen Ferguson (appointed by Mr Tamine
               as new directors of SJTC) accepted in principle – but without committing his clients
               to that course – that it was possible that “the best outcome is a properly regulated
               independent professional trust company to come in (in appropriately open considered
               circumstances. I commit my clients not at all in that regard, but one can see the obvious
               sense of it)” See page 377 of the transcript for that hearing….
                       …
               Representative Beneficiary

               16. On 26 May 1981, A Eugene Brockman executed a Trust Indenture with Bermuda
               Trust Company Limited pursuant to which he settled assets on trust and created the
               trust which is the subject matter of these proceedings. The Trust is a discretionary trust
               and is governed by the laws of Bermuda. Bermuda Trust Company Limited was the
               original trustee…


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               17. The beneficiaries of the Trust are designated in Article V A of the Trust Deed as
               being “Robert Theron Brockman, Dorothy Kay Brockman, Thomas David Brockman,
               Victoria Brockman, and any organization qualifying as a charitable organization
               under the laws of Bermuda, the United States, or Great Britain.”

   24.   Then follows Mrs Brockman’s account of her discussions with her fellow beneficiaries on the issue
         of their participation in the New Proceedings and her election to represent them in such
         proceedings, with her averment that, while some were not inclined to become involved, others had
         expressed their wishes that she represent them, the basis, as she also avers, for her application to
         the Supreme Court in the New Proceedings for the making of a representation order. She was
         eventually, on 7 August 2020, appointed in the New Proceedings to represent them.

   25.   Her affidavit then turns to discuss the Trust’s assets and distributions in terms which also helpfully
         explain the impact of the litigation as a consideration for the timely disposition of this appeal:

               “25. The assets of the Trust are significant and worth billions of US Dollars..
               A significant portion of the assets of the Trust structure is its indirect holding of close
               to 100% of the shares in United Computer Systems Holdings (UCSH), a holding
               company of a computer software and professional services company which may be
               worth in the region of US$5 billion.

               26. The Trust also owns 100% of the common shares (but not the sole management
               share) in an investment fund called Point Investment Ltd (PIL). PIL invested in a
               number of structured investments, and the assets controlled by PIL may be worth in
               the region of US$1.3 billion. The Trust structure also holds various amounts in bank
               accounts in Bermuda, Switzerland and Singapore. The accounts in Switzerland hold
               approximately US$1.4 billion and the accounts in Singapore approximately US$15
               million. It appears from what I have been told by my legal advisers that in response to
               the uncertainty over the proper trustee of the Trust and its subsidiaries, these accounts
               were frozen and Medlands has been unable to draw funds from them for many months.

               27. The Trust also has accounts with the Bank of NT Butterfield. Those accounts hold
               only approximately US$2.5 million in liquid assets, which, I am told, will not be
               sufficient to satisfy the Trust’s expenses in even the short term. I understand that the
               Bank of NT Butterfield recently gave the Trust 90 days’ notice of its intention to close
               the accounts.

               28. To the best of my knowledge, all or nearly all of the Trust’s distributions have been
               to charitable beneficiaries. The Trust has two charitable programs under the banner
               of the Brockman Foundation (which is a name and not a separate entity). The
               Brockman Scholars Program at Texas A&M University firstly provides academic
               scholarships in the fields of science, technology, engineering, mathematics and
               medical research to Texas A&M University students. The program is a merit-based
               full scholarship for five years of study at the University. The scholarship program
               currently supports 149 Brockman Scholars with funds from the Trust. The scholarships
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               cost the Trust approximately US$5 million in 2020 and the program was expected to
               add 50 students for each of the next two academic years.

               29. The second significant philanthropic program is the medical research grants
               awarded to scientists with universities and eminent medical institutions. The Trust
               provides roughly US$10 million per year in grants for leading-edge medical research,
               especially innovative, preventative, therapeutic and interventional research. The
               operation of the Brockman Foundation involves significant operating expenses in the
               form of staff costs and the costs of expert advisers. In the past, the Trust has also
               supported other philanthropic endeavors in Bermuda and has significant
               philanthropic contributions to capital projects at universities in the United States.
               Without a change in circumstance, these important charitable programs will not be
               able to continue, let alone grow.”


         The arguments and their analysis

   26.   The arguments for the Appellant SJTC may be summarized as follows, as taken from the speaking
         notes of counsel Mr Cumming QC:

               ● SJTC seeks to set aside the November and December Orders to allow “proper judicial
                 consideration and determination of the issues which they purport to resolve”

               ● Why does SJTC seek to achieve that?

                            (i)    To safeguard properly the interest of all those who may be beneficially
                                   interested in the assets connected to the Trust (not just Mr and Mrs
                                   Brockman) particularly given the interests of charity, and in
                                   circumstances where the A-G does not support the course for which the
                                   hostile respondents contend. [Mr Cumming’s contention here was
                                   clearly mistaken in light of the A-G’s position actually taken on this
                                   appeal as explained above]

                            (ii)   To ensure that matters that have (at the moment) purportedly been
                                   judicially determined are actually properly determined in accordance
                                   with the principles of natural justice.

               ● This is particularly important in the context of the DOJ investigation, and consequent
                 indictment of Mr Brockman. The DOJ opposes Mrs Brockman’s proposed change of
                 trustee. By contrast, the DOJ has no problem with SJTC or its directors.

               ● The matters purportedly decided by the November and December Orders need proper
                 judicial scrutiny. The miscarriage of justice that took place at the hearings before Subair
                 Williams J in November 2019 and December 2019 should be undone, and the matters she


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                  purportedly decided should be remitted for the proper scrutiny that they merit and
                  demand at first instance.”

   27.   Mr Cumming in his submissions then proceeded to scrutinize the respective provisions of the
         November and December Orders to suggest that various findings in them were wrong in fact or
         principle, procedurally and substantively flawed and/or needed to be sent back to the Supreme
         Court for “proper scrutiny”. He submitted that these findings included: (i) whether the proper law
         of the Brockman Trust had not in fact been effectively changed by the Deed of Retirement and
         Appointment and Indemnity (”DORA”) of 1993 to that of Guernsey, although so decided at [2] of
         the November Order; (ii) whether Mr Lang had been properly appointed as Protector pursuant to
         declaration 17 and [27(2)] of the December Order; (iii) whether declaration 1 of the December
         Order- that the 1994 DORA was invalid and which carried the consequence of the validity of
         SJTC’s subsequent appointment as successor trustee pursuant to the 1995 DORA being doubted
         at declaration 3 - was wrong; (iv) whether the discharge of SJTC and the appointment of Medlands
         to replace it as trustee at [18] of the December Order, and regarded by Subair Williams J as
         appropriate, among other things, to relieve the Brockman Trust of the historic uncertainties over
         doubtful appointments in the past, was nonetheless improperly premised.

   28.   It must be emphasised that the Orders were made in the Administration Proceedings in which all
         interested parties were notified or joined, including the Attorney General as protector of the
         charitable interests, as well as the former trustees whose past involvements with the Brockman
         Trust may have been clouded by uncertainty.

   29.   It was therefore immediately apparent that the submissions presented on the part of SJTC could
         hardly be regarded as presented in the interests of the beneficiaries of the Brockman Trust. If
         acceded to, the Orders would be set aside, SJTC would be restored however temporarily, as trustee
         and the Brockman Trust would be plunged back into to its former state of uncertainty. Accordingly,
         it was apparent that the arguments were being deployed, not in furtherance of perceived fiduciary
         obligations, but to buttress SJTC’s primary complaint about breach of its right to a fair hearing in
         the Administration Proceedings, and thus, as the basis for the reconsideration by the Supreme
         Court in those proceedings of its removal and replacement by Medlands as trustee. It is trite law
         that a trustee does not have an entitlement to prolong his retention in his office as a trustee in his
         own interest.

   30.   Moreover, apart from SJTC’s complaint about breach of its rights, there was no basis for any
         complaint that Subair Williams J, in the exercise of her otherwise undoubted jurisdiction validly
         invoked in the Administration Proceedings, had reached determinations which were other than
         properly open to her to reach. Rather, it was recognized and accepted that the learned judge had
         read, considered and was guided, not only by the submissions of all interested parties but also by
         the detailed and comprehensive Hagen/Hargreaves Opinion, which concluded in the following
         salient advisory terms:

               “Next Steps
               140. In light of our conclusions herein that (among other things) SJTC is likely to be
               a trustee de son tort of a settlement which is (most probably still) a Bermuda trust, and
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                given the further question as to the identity of the beneficiaries thereof and its
                protector, we have recommended that SJTC apply to the Supreme Court of Bermuda
                to obtain appropriate declarations, directions and other relief such as to place the
                trust on a proper and sustainable footing, and if acceptable to the court, to seek its
                appointment as trust. The scope and nature of that relief will be set out in the
                pleadings, evidence and argument advanced on the application in question.”

   31.   As mentioned above, Subair Williams J had clear and compelling reasons for not affirming the
         appointment of SJTC as trustee, including the implications of Mr Tamine’s ongoing ability to
         control SJTC (without, it must be noted, expressing any conclusions as to impropriety on his part).
         Indeed, SJTC had itself, through its counsel Mr Cumming, not proposed that it should be re-
         appointed, arguing instead that its “summary removal 4” was wrong in principle, (citing Lewin on
         Trusts, 20th ed [14-084] and the case authorities discussed there) and that, like the other issues
         decided by the Orders, this subject also requires “proper scrutiny”. And further, that it would be
         inappropriate without first instance adjudication by the Supreme Court, and beyond the statutory
         jurisdiction of this Court, for this Court to appoint BCT to replace Medlands, as proposed by Mrs
         Brockman with the support of the Protector and Medlands itself.

   32.   Other concerns were raised in arguendo on behalf of Mr Tamine and SJTC about the suitability of
         BCT to be appointed trustee, such as whether it was sufficiently capitalized to meet the standards
         for appointment set in the Trust Deed and whether it physically carried on business in Bermuda so
         as to satisfy the domiciliary and governing law requirements of the Trust Deed and the concerns
         of the DOJ. These concerns, to the extent relevant for disposition of the appeal, were found by this
         Court to have been satisfactorily answered.

   33.   For instance, it was explained by the BCT representatives, that trust administration would actually
         be carried out in Bermuda by Maples Trustee Services (Bermuda) Limited to comply with the
         strict requirements of the governing law provisions and in keeping with obligations arising under
         Bermuda law, including any which may arise as owing to the United States Government. Already,
         Mr Peter Goddard, a senior officer of Maples FS had offered, through U.S attorneys Cravath,
         Swaine & Moore LLP, to make himself available for interview by the DOJ, an offer to which, as
         at the date of the hearing before this Court, the DOJ had not yet responded. Against that
         background, the Court does not regard the issue of BCT’s suitability for appointment as requiring
         further discussion here.

   34.   And so, to the extent that it could complain in its own right (rather than seek to detract from the
         merits of BCT’s appointment), the high-water mark of SJTC’s arguments, was that its appeal
         should be allowed on the basis that Mr Gilbert had no authority to act on its behalf in the
         Administration Proceedings and on the basis also of its proclaimed right to a fair hearing in those
         Proceedings having been breached.

         4
           Itself a patent mischaracterization of the process undertaken by Subair Williams J, involving as it did, hearing from
         all interested parties and the terms of the Orders having the support of all the parties (with the A-G maintaining a
         neutral stance). All of which is confirmed by a written ruling delivered by Subair Williams J on 23 July 2020 in the
         Administration Proceedings.

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   35.   In this regard, Mr Cumming presented rather fulsome arguments, citing authoritative and well-
         known (and indeed uncontroversial) dicta from the case law, only some examples of which it is
         necessary to mention here, and at that, only for the purpose of explaining the arguments themselves
         and considering the Respondents’ in return. It was in the recognition of this true nature of SJTC’s
         appeal, that this Court presented the issue to be addressed at the outset and those questions which
         we regard as being, in reality, engaged upon this appeal, as set out above at [13] and [14].

   36.   Mr Cumming stressed that the right to a fair hearing is a cardinal principle of natural justice and
         that it is hard to conceive of a more fundamental right, or one that the courts are more careful to
         safeguard and vindicate. That any proposed interference with the principle merits exacting scrutiny
         and any determination tainted by a breach of natural justice should be set aside. Indeed, that it is a
         right which is enshrined at section 6(8) of the Constitution of Bermuda 5. Further, that natural
         justice, and this constitutional right, mandates at its core, and as a bare minimum, that a party be
         afforded the opportunity to hear and, if it wishes to do so, rebut the case made against it.

   37.   Reliance was placed upon Lord Neuberger’s explanation of these facets of this right in Al Rawi v
         Security Service [2012] 1 AC 531 at [12], describing them as “inherent” in the principle of natural
         justice (emphasis added):

                “Under the common law a trial is conducted on the basis that each party and his
                lawyers sees and hears all the evidence and all the argument seen and heard by the
                court. This principle is an aspect of the cardinal requirement that the trial process
                must be fair, and must be seen to be fair; it is inherent in one of the two fundamental
                principles of natural justice, the right to be heard (or audi alterem partem, the other
                rule being the rule against bias or nemo iudex in causa sua). As the Privy Council said
                in the context of a hearing which resulted in the dismissal of a police officer, in Kanda
                v Government of Malaya [1962] AC 322, 337: “If the right to be heard is to be a real
                right which is worth anything, it must carry withy it a right in the accused man to know
                the case which is made against him. He must know what evidence has been given and
                what statements have been made affecting him; and then he must be given a fair
                opportunity to contradict them.”

   38.   And further, upon Lord Kerr’s explanation of the importance of the right to a fair trial and the
         effectiveness of the judicial task, also from Al Rawi at [93]:

                “To be truly valuable, evidence must be capable of withstanding challenge. I go
                further. Evidence which has been insulated from challenge may positively mislead. It
                is precisely because of his that the right to know the case that one’s opponent makes
                and to have the opportunity to challenge it occupies such a central place in the concept

         5
           Section 6(8) provides: “Any court or other adjudicating authority prescribed by law for the determination of the
         existence or extent of any civil right or obligation shall be established by law and shall be independent and impartial;
         and where proceedings for such determination are instituted by any person before such a court or other adjudicating
         authority, the case shall be given a fair hearing within a reasonable time.”

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               of a fair trial. However astute and assiduous the judge, the proposed procedure hands
               over to one party considerable control over the production of relevant material and
               the manner in which it is to be presented. The peril that such a procedure presents to
               the fair trial of contentious litigation is both obvious and undeniable” [as emphasized
               by Mr Cumming].

   39.   Noting that this important dicta from Al Rawi has been endorsed and applied by this Court (per
         Kay JA) in Minister of Finance v AD [2015] CA (Bda) 18 Civ (12 June 2015), Mr Cumming then
         proceeded to urge its application to the present case, in the following terms from his written
         submissions, as the basis for setting aside the Orders:

               “Kay JA’s and Lord Kerr’s concerns [(to ensure that a party affected has access to all
               relevant evidentiary material)] have obvious parallels to the present case. Plainly, as
               the Appellant was not before the Court at either of the hearings, the Appellant had no
               opportunity to (1) adduce evidence which it considered to be in the best interests of
               the Brockman Trust, or in its own interest, or (2) make any submissions of its own at
               the hearings at which the Orders were made or to respond to or scrutinize the material
               advanced before the Court by Mr Gilbert and/or Conyers [(who were joined as the
               former advisers to another predecessor trustee or trustee de son tort)] or the other
               parties before the Court for the benefit of both the Appellant, the Brockman Trust, and
               the Court” [emphasis added]

   40.   Leaving aside for present purposes any question of whether the right of any other party to a fair
         hearing might have been impaired (none complains), this proposition that SJTC’s right to a fair
         hearing in the Administration Proceedings was breached, pivots narrowly - as the words in
         emphasis immediately above reveals - upon the proposition that Mr Gilbert participated only in
         his personal capacity, rather than on behalf of SJTC itself, in those proceedings. This is properly
         described as a precarious proposition on which to depend for the simple reason that (as Mr Machell
         QC submitted and this Court accepted), as at the date when the Administration Proceedings were
         commenced by summons issued by SJTC under Order 85 of the Rules of the Supreme Court (22
         July 2019), it did so acting through its then sole director Mr Gilbert and at a time when he
         unquestionably had the requisite authority. Mr Gilbert became the sole director of SJTC on 28
         September 2018, after Mr Tamine’s resignation of the same date.

   41.   The jurisdiction of the Supreme Court was, therefore, validly invoked and the 22 July 2019
         summons was before the Court at the hearings on1 November 2019 and 1 December 2019 when
         the Orders were made. This is in fact the case notwithstanding that the relief sought by way of
         removal of SJTC and its replacement by Medlands, was specifically the subject of a separate
         summons filed by Mr Gilbert on 10 December 2019, then purportedly acting on behalf of SJTC
         and even while failing to disclose his actions to Messrs Ferguson and Watlington (who had been
         by then appointed as directors of SJTC on 25 October 2019).




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   42.   And so, while this Court appreciates why the learned Chief Justice was troubled by Mr Gilbert’s
         seemingly clandestine conduct 6, this Court could not accept that SJTC was not itself properly and
         effectively enjoined before the Supreme Court in the Administration Proceedings because Mr
         Gilbert’s status as a director of SJTC (whether sole or together with Messrs Ferguson and
         Watlington), was subsequently brought into question by the determinations in the Judgment of 26
         March 2020, as discussed above.

   43.   SJTC, having effectively instituted the Administration Proceedings by Mr Gilbert on 22 July 2019,
         was bound by the outcome, which included the Orders. This must be so whether Subair Williams
         J was acting in those proceedings in the exercise of the statutory jurisdiction under the Trustee Act
         1975, (the “Trustee Act”) or the inherent jurisdiction for the supervision of trusts, as will be
         examined below.

   44.   This conclusion could be sufficient to dispose of SJTC’s appeal, narrowly premised as this Court
         found it to be, upon the alleged breach of its right to a fair hearing. But there is more that needs to
         be said, if only briefly, given the true nature of the Administration Proceedings and the questions
         raised about the jurisdiction of this Court on an appeal from such proceedings.

   45.   The issues of concern which prompted the institution of the Administration Proceedings were those
         discussed in the Hagen/Hargreaves opinion. The issues concerned (i) the true identity of the trustee
         of the Brockman Trust (ii) the proper law of the Trust and (iii) the true identity of the protector of
         the Trust. It was therefore clearly imperative that the uncertainty about those issues be resolved.

   46.   That uncertainty was resolved by the Orders by the exercise of the Supreme Courts’ supervisory
         jurisdiction over trusts and, as regards the removal of SJTC and its replacement by Medlands, the
         statutory jurisdiction was also engaged. In considering this appeal against the Orders, this Court is
         also exercising similar jurisdiction over trusts and submissions to the contrary made on behalf of
         Mr Tamine by Mr Brownhill QC, were misplaced, for reasons to be further explained below. In
         arriving at the decision not only to dismiss the appeal but also to appoint BCT as trustee in place
         of Medlands, this Court considered that the following arguments, as presented by Mr Machel QC,
         on behalf of the Protector, Mr Lang, and Mr Treagear QC, on behalf of Mrs Brockman, were
         persuasive.

   47.   By virtue of section 31(1) of the Trustee Act the court may, “whenever it is expedient to appoint a
         new trustee or new trustees, and it is found inexpedient, difficult or impracticable to do so without
         the assistance of the court, make an order appointing a new trustee or new trustees..” And, by
         section 31(2), the court “may make an order appointing a new trustee in substitution for a trustee
         who is incapable… of exercising his functions as trustee … or who for any reason whatsoever
         appears to the court to be undesirable as a trustee.”


         6
           Including, as the Chief Justice expressed, for the reason that the immediate commercial result achieved by the
         removal of SJTC and its replacement by Medlands appeared to be that Mr Gilbert would continue in his role as before
         but by means of his control of Medlands of which he was, at the time, the sole director and sole shareholder. See in
         this regard, the findings of the Chief Justice at [34] of his judgment of 14 December 2020 in the Corporate Proceedings.

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   48.   Under section 49 of the Trustee Act an application for an order appointing a new trustee may be
         made “on an application of any person beneficially interested” or “on the application of any
         person duly appointed trustee”.

   49.   These are the provisions invoked by Mrs Brockman in seeking the appointment of BCT by this
         Court on the basis that, in the circumstances of this case, it is obviously difficult and impractical
         for a new trustee to be appointed without the assistance of the Court for the purposes of section 31
         of the Trustee Act. This is submitted to be so especially because the power to appoint new trustees
         lies with a resigning trustee (article VII-A) of the Trust Deed or the Protector (article VII-B). The
         appointment of the current trustee, Medlands, is challenged by the Appellant SJTC, as is the
         appointment of the Protector, Mr Lang. The only way to achieve the appointment of a trustee
         whose appointment puts the Trust on an unshakable footing and provides a solid datum point for
         the proper administration of the Trust going forward is, submitted Mr Tregear, by an application
         under section 31.

   50.   The circumstances presented here, in the view of the Court, justify the invocation of the statutory
         power. This is a power which has been invoked on several occasions in the past in this jurisdiction;
         the authorities show that, in order to make an appointment, the court requires it to be demonstrated
         that the exercise of the power is “expedient for the trust as a whole”. See, for instance In the
         Matter of the C Trust [2019] SC (BDA) 44 App (22 July 2019) per Hargun CJ at [17] and the
         cases cited there.

   51.   The Court also has an indisputable inherent jurisdiction as part of its supervisory jurisdiction over
         trusts and which extends to the appointment and removal of trustees – see The Supervisory
         Jurisdiction over Trust Administration by Daniel Clarry 7, for an in depth commentary on the
         origins and evolution of the jurisdiction. The principles developed in the case law are instructive.


   52.   In the exercise of the supervisory jurisdiction, the Court’s principal duty is to see that the trusts are
         properly executed for the welfare of the beneficiaries. This has been settled principle for at least
         137 years: see the judgment of the Privy Council in Letterstedt v Broers (1884) 9 App. Cases 371,
         a case in which the question was whether the court should exercise its equitable supervisory
         jurisdiction to remove and replace trustees.

   53.   The supervisory jurisdiction has been more recently reaffirmed at the highest level by the Privy
         Council in Schmidt v Rosewood Trust Ltd [2003] 2 AC 709, such that its existence ought now
         properly to be regarded as indisputable - the court has an inherent jurisdiction to supervise and, if
         necessary, intervene in the administration of trusts, (per Lord Walker at [51]).

   54.   Accordingly, this appeal might not have been allowed by the Court to proceed as being only about
         SJTC’s personal interests: trustees exist for the benefit of those to whom the creator of the trust
         has given the trust estate: see again Letterstedt v Broers (at 386) where the trustee was removed,
         not because allegations of fraud were found to be substantiated but because a history of friction
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             Oxford University Press, First Edition.

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         with the beneficiaries was deemed likely to impede the proper administration of the trust. And, as
         was immemorially stated by Lord Nottingham in Uvedale-v-Ettrick (1682) 2 Ch Cas 130; 22 ER
         880, addressing the recalcitrant trustee who seeks to cling to office against the wishes of the
         beneficiaries, as SJTC might be perceived to be doing here: “I like not that a man should be
         ambitious of a Trust, when he can get nothing but trouble by it.”

   55.   And so the real question – indeed, the governing principle whenever the supervisory jurisdiction
         is invoked– is what is required for the welfare of the beneficiaries: Letterstedt v Broers at 389. See
         also, as so concluded in this jurisdiction in Re X Trust [2018] SC (Bda) 56 Civ (12 July 2018) per
         Kawaley CJ at [24] and [25] and in England and Wales in The Pensions Regulator v Dalriada
         Trustees Ltd and others [2013] EWCH 4346 (Ch), [2013] WL 6229578 per Nugee J, at [28].

   56.   It is also to be emphasized that the dispute enjoined in the Administration Proceedings is not
         ordinary adversarial litigation: see again, for instance The Pensions Regulator v Dalriada at [28]-
         [30]. And, from Schumacher v Clarke [2019] EWHC 1031 (Ch) per Chief Master Marsh at [18]
         in terms which this Court is content to approve and adopt: “The jurisdiction is quite unlike ordinary
         inter partes litigation in which one party, of necessity, seeks to prove the facts (of) its cause of
         action against another party.”

   57.   And further, as to the sui generis nature of trust proceedings, from Schumacher v Clarke at
         [21(i)]: “The claim is between the executors and trustees and the beneficiaries, but it is only in
         part about them. It is primarily about the estate, seen separately from the persons who are the
         custodians and the beneficiaries. As I have said, the claim is not an ordinary in personam claim”.

   58.   The procedure to be adopted in trust administration proceedings is in the discretion of the Court
         and informed by the interests of the beneficiaries. The Court proceeds in a pragmatic way. This
         will mean avoiding what may fairly be regarded as an expensive and protracted battle, given the
         history of litigation attending the Brockman Trust. See Schumacher at [20] and [24], citing the
         decision of Lawrence Collins J (as he then was) in Green and Others v Gaul and Others [2005]
         WTLR 1325 at [199] and Evans-Lombe J in Dobson v Hayman [2010] WTLR 1151 at [26]. And
         further from Schumacher at [33] and [34]: “As to the mode of trial, it hardly needs to be
         emphasised that it is for the court to control the way in which claims are disposed of, whether at
         a trial or a more limited hearing. It is not open to the parties to demand a full trial, or to demand
         a certain number of days for a trial… When dealing with such issues, the court firmly has in mind
         the provisions of the overriding objective. These include, of course, the importance of the case and
         its complexity. These also include, however, the desirability of expedition and the need for
         fairness.”

   59.   Taking the foregoing principles in mind, I can fairly summarise the realities in the present case as
         follows:

         a. There was a protracted litigation or a “battle royal” between, on the one hand, SJTC, Mr
            Tamine, Mr Ferguson and Mr Watlington and, on the other, Medlands and Mr Gilbert
            enjoined in the Corporate Proceedings. Given the questions raised over the validity of
            Medlands’ appointment as trustee, it was clearly in the interests of the Trust and its
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            beneficiaries as a whole that Medlands be replaced. Medlands agreed with this proposition.

         b. There are serious and ongoing proceedings by the trust against Mr Tamine for
            misappropriation. Yet, if SJTC were reinstated as trustee of the Brockman Trust, Mr Tamine,
            despite being obviously conflicted, could potentially regain control of SJTC through his
            control of Cabarita.

         c. There is also the DOJ investigation into tax fraud that includes matters relating to the way in
            which the trust was operated at a time when SJTC was the trustee. The DOJ submitted to the
            Chief Justice in the Corporate Proceedings that SJTC was at the heart of the alleged fraud. Mr
            Tamine is encamped against the interests of the Brockman Trust in the investigation.

         d. The current circumstances are impeding the proper operation of the Trust and its charitable
            activities, as explained by Mrs Brockman.

         e. Objectively, the situation cried out for the appointment of a new independent professional
            trustee. As Mr Machell QC on behalf of the Protector, Mr Lang, and Mr Treager QC on behalf
            of Mrs Brockman, submitted, that was what the welfare of the beneficiaries demands. The
            contrary was not properly arguable. Indeed, it was notable that, throughout, SJTC was
            conspicuously silent about its own reappointment. Nor was it likely to be more assertive in
            this regard, in light of the concessionary tone of Mr Cumming’s remarks before the Chief
            Justice on 3 November 2020 in the Corporate Proceedings, recognizing even then, that a new
            appointment would be in the best interests of the Trust.

         f. As a matter of record, it should be noted as well that the human beneficiaries support BCT
            Limited’s appointment - Mrs Brockman, who as mentioned above, was eventually appointed
            to act as representative by order in the New Proceedings, speaks for them.

         g. BCT Limited is a subsidiary of Maples FS, a well-regarded, regulated international trust and
            corporate management business: this, as shown above, is as averred by Mrs Brockman in her
            first affidavit. On her behalf, Hurrion & Associates wrote to Marshall Diel & Myers (who act
            on behalf of SJTC) on 30 December 2020, giving notice of the New Proceedings (without
            prejudice as to whether SJTC was entitled to such notice) in the following terms:

               “You will see [(from the enclosed pleadings)] that our client makes the application in
               her capacity as a discretionary beneficiary of the Trust for the replacement of the First
               Defendant, Medlands, as trustee of the Trust with BCT Limited (BCT). BCT is a
               company incorporated in the Cayman Islands and is a controlled subsidiary of Maples
               FS (Maples FS). Maples FS is a well-regarded, regulated and professional
               institutional trustee licensed in the Cayman Islands and subject to the regulation of
               the Cayman Islands Monetary Authority (CIMA). The Protector and the Attorney
               General have also been joined as Defendants. Your client has not been joined because
               it is a stranger to the Trust. Without prejudice to that fact, we will provide you with
               reasonable notice of the hearing date for our client’s application.


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                 We have previously invited your client to take a realistic position in relation to this
                 application and we now urge your client to accept and agree that the appointment of
                 BCT is overwhelmingly and obviously in the best interests of the Trust. The Trust is
                 presently in a state of illiquidity. This jeopardises its charitable operations and the
                 overall management of the Trust’s substantial assets. The position needs to be rectified
                 as quickly as is reasonably possible. Now that BCT has been identified as a fit, proper
                 and willing institutional trustee to operate under the Maples FS global brand, it is
                 demonstrably in the best interests of the Trust for our client’s application to proceed
                 consensually. We do not consider there could be any reasonable basis on which your
                 client could object to such an appointment.

                 Without prejudice to the fact that your client’s views as to the identity of a replacement
                 trustee are immaterial, we nevertheless request confirmation that your client supports
                 or, at least has no objection to the appointment of BCT as trustee of the Trust. In the
                 unlikely event that your client does object to BCT, we request that you provide a
                 detailed explanation and legal basis for the objection. Obviously, a mere desire by
                 your client to cling to its office and be reappointed as trustee would not constitute a
                 reasonable or principled basis for objection to BCT. As we have previously explained,
                 there are no circumstances in which our client could consent to your client having any
                 future connection of any kind with the Trust.”

   60.   At the hearing, the Court was informed by Mr Machell QC that, up until then, SJTC had not
         stated a position despite having received that letter.

   61.   The Court proceeded on the basis that, in all the attendant circumstances, it had the jurisdiction
         to determine that it is in the interests of the beneficiaries that BCT Limited is appointed as trustee
         and to do so without having to find one way or the other whether SJTC (or for this purpose Mr
         Tamine or Medlands itself), has acted inappropriately.

   62.   The Court determined, especially in light of the following, that it was clearly not appropriate that
         SJTC be the trustee in the circumstances which have arisen:

         (i)     It is contrary to the interests of the beneficiaries for Mr Tamine to have any control or
                 influence over the trust. This would be possible, despite his protestations and undertakings
                 (belatedly proffered in these proceedings in his 3rd affidavit at [9]), not to interfere with the
                 appointments of Mr Ferguson and Mr Watlington. Mr Tamine has control or at least
                 influence over SJTC, and the fact that Mr Ferguson and Mr Watlington its current directors,
                 are professionals of good standing is, the Court accepted, beside the point. Mr Tamine,
                 through Cabarita, has control or influence over hiring and firing and remuneration, and, as
                 sole director of Cabarita (SJTC’s shareholder), he remains in a position where he could
                 expect to discuss trust matters with Mr Ferguson and Mr Watlington and be provided with
                 information. An undertaking of the kind very belatedly proffered does not meet the
                 fundamental issue of Mr Tamine’s potential influence.

         (ii)    In any event, as the Court also accepted, Messrs Ferguson and Watlington are simply
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                 strangers and newcomers to the trust, having no relevant experience or knowledge. As a
                 new trustee had to be engaged to administer the trust, it was clearly better that they are
                 independent and uninfected by the “battle royal”.

   63.   And further as regards Mr Tamine personally:

         (i)     There are outstanding claims against him in the Tangarra proceedings, which puts him in
                 a position of hopeless conflict of interests.

         (iii) It is understandably a matter of concern to the Protector and Mrs Brockman, that, on his
               own evidence filed in the Administration Proceedings, he would regard his actions
               formerly taken in the administration of the affairs of the Brockman Trust (when he was
               director of SJTC) as having lacked independence for having been taken at the behests of
               Mr Brockman and so bringing into question SJTC’s independence as trustee and perhaps
               implicitly, the true discretionary nature of the Trust: see his 1st affidavit, for example at
               paragraphs 62, 78, 97, 99 and 142.

   64.   With the foregoing conclusions explained, it remains only for the Court to address the issue of
         jurisdiction as raised by Mr Brownbill QC on behalf of Mr Tamine. He did so, despite the well-
         known and settled principles discussed above, in the following terms taken (albeit excerpted only
         in part) from his written submissions:

                 “No jurisdiction to entertain an application to appoint a new trustee

                 1. Even if there had been a properly constituted application supported by evidence
                    made to this Court for the appointment of a new trustee, this Court has no
                    jurisdiction to entertain that application.

                 2. When is s 8(1) [f the Court of Appeal Act] engaged and what is its purpose? The
                    section provides as follows:

                 “Subject to this Act and any Rules, in the determination of appeals before it, the Court
                   of Appeal shall have all the powers and duties conferred or imposed on the Supreme
                   Court in the exercise of its original or appellate jurisdiction.” [Mr Brownbill’s
                   emphasis]

                 3. The wording of the subsection makes it clear that although the range of powers that
                    may be exercised by the Court of Appeal is just as broad as those which may be
                    exercised by the Supreme Court, the jurisdiction to exercise those powers is being
                    granted for a specific purpose and is not entirely at large.

                 4. Thus, the exercise of the powers defined in section 8(1) arises only “in the
                    determination of appeals before it”. The powers can be used only for the purpose
                    of determining the instant appeal. In the present case, if the appointment of BCT
                    were to go ahead in the manner proposed, the Court of Appeal would not be
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                  determining the appeal but avoiding it.

               5. It follows that the powers conferred on the Court of Appeal by section 8(1) must be
                  exercised for matters which are ancillary and incidental to the particular appeal
                  before it. The section does not provide an unlimited jurisdiction for the Court of
                  Appeal to take control of and determine any issue which might arise generally in
                  the proceedings giving rise to the appeal.

               6. The jurisdiction has not been granted to enable the Supreme Court to be bypassed
                  or to avoid having to consider the substance of an appeal, which is what Mr Lang
                  and Mrs Brockman are asking the Court of Appeal to do [(by way of appointing
                  BCT now)].”

   65.   Mr Brownbill QC then cited a judgment of the English Court of Appeal in Ocean Software v Kay
         [1992] QB 583 (CA) dealing with the revocation and remaking of ex parte injunctions, a case
         which this Court regarded as having no bearing on the appeal. The reason will be apparent from
         the very summary of that decision provided by Mr Brownbill himself at [23] of his submissions:

               “In Ocean Software v Kay the plaintiff successfully appealed the refusal of its
               application for an ex parte injunction, and obtained the injunction, ex parte, from the
               Court of Appeal. Thereafter, the plaintiff made a further application to the Court of
               Appeal for additional injunctive relief and the respondent applied directly to the Court
               of Appeal for a full discharge of the injunction. The Court of Appeal refused to
               entertain either application on jurisdictional grounds and also for reasons of
               practicality”.

   66.   And further, from the judgment of Scott LJ given on behalf of the Court of Appeal:

               “Where the Court of Appeal has granted an injunction, whether ex parte or inter
               partes, it may very well be necessary for one or other of the parties to the appeal to
               come back to the Court of Appeal for some point of clarification or variation of the
               terms of the order that has been made. I would suppose that the Court of Appeal’s
               jurisdiction to deal with such matters falls within section 15(3) of the [(Supreme
               Court)] Act. But, on the other hand, an application for relief which arises out of an
               order that the Court of Appeal has made but which is not strictly ancillary to the
               appellate function that the Court was exercising in making the order and which cannot
               be described as either the amendment or the execution or the enforcement of the order
               ought not, in my opinion, to be made to the Court of Appeal. In such a case the Court
               of Appeal, as it seems to me, would not have jurisdiction to entertain the application.”
               [emphases added by Mr Brownbill QC].

   67.   The words from Lord Justice Scott’s judgment emphasized by Mr Brownbill QC above, explain
         why the issue engaged and the reasoning in the case has no applicability upon this appeal. What
         this Court is engaged upon, is not an application for relief arising from an earlier order of the Court
         itself which is “not strictly ancillary to the appellate function”, but an appeal from determinations
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         below in the Supreme Court taken in the context of the exercise of the special and unique
         jurisdiction of the Courts for the supervision of trusts. As regards the appointment of BCT, the
         question is whether this Court has the jurisdiction to make that appointment while otherwise
         dismissing the appeal.

   68.   The position contended for by Mr Brownbill QC on behalf of Mr Tamine would be one where,
         although this Court would undoubtedly have the jurisdiction to dismiss SJTC’s appeal, (as it did),
         it would be obliged to do so while leaving Medlands in place as trustee because of a supposed lack
         of jurisdiction to appoint a new trustee (BCT). This would be so even while Medlands had given
         notice of its resignation and even while, as Mr Tamine himself contends, it would be inappropriate
         to do so while Mr Gilbert, himself embroiled in the battle royal in the Corporate Proceedings,
         remained in charge of Medlands.

   69.   Such an outcome would clearly be untenable and not at all in the interests of the Trust and its
         beneficiaries in whose interests the supervisory jurisdiction ought properly to be exercised.

   70.   And so, for the sake of completeness and in final answer to this jurisdictional argument, it is to be
         noted that under section 8 of the Court of Appeal Act 1964, this Court, (like the English Court of
         Appeal under the Supreme Court Act of 1981) in the determination of appeals before it, has all the
         powers and duties conferred or imposed on the Supreme Court in the exercise of its original or
         appellate jurisdiction.

   71.   The manner of the exercise of the powers is explained by Court of Appeal Rules, rule 25:

               “The Court shall have power to give any judgment or make any order that ought to
               have been made, and to make such further or other order as the case may require
               including any order as to costs. These powers may be exercised by the Court,
               notwithstanding that the appellant may have asked that part only of a decision may be
               reversed or varied, and may also be exercised in favour of all or any of the
               respondents or parties, although such respondents or parties may not have appealed
               from or complained of the decision.” (Emphases added)

   72.   The Court therefore accepted that it could - as both Mr Machell QC and Mr Treager QC argued -
         determine that it is in the interests of the beneficiaries and the Trust as a whole, for BCT to be
         appointed as trustee in place of Medlands and made the appointment order, to that effect in exercise
         of the trust supervisory jurisdiction as well as the powers under the Trustee Act.

   73.   The Court also concluded that SJTC had been effectively removed as trustee of the Brockman
         Trust by the 19 December 2019 Order and became a stranger to the Trust having no further right
         of audience or relief thereafter in the Administration Proceedings. SJTC could not therefore
         properly invoke the jurisdiction of this Court on an appeal from those proceedings for the
         vindication of personal rights to a fair hearing which it claims were breached in those proceedings
         for want of effective representation in them – a claim which, in any event, was found to have no
         basis in fact.


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   74.   Accordingly, these are the reasons for our dismissal of the appeal and our previous order. We have
         previously directed that we will hear the parties as to costs of the appeal by way of written
         submissions, not exceeding 15 pages, to be submitted within 14 days of the delivery of these
         reasons.

   GLOSTER JA:

   75.   For the reasons expressed by my Lord the Acting President, I agree.

   SIMMONS JA:

   76.   I also agree.




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     1                   IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
     2                             HOUSTON DIVISION
     3 UNITED STATES OF AMERICA                )        NO. 4:21-CR-09
                                               )
     4                                         )
         VS.                                   )         Houston, Texas
     5                                         )      1:06 p.m. to 5:10 p.m.
                                               )
     6 ROBERT T. BROCKMAN                      )         NOVEMBER 17, 2021
     7
     8
           *******************************************************
     9
                                 COMPETENCY HEARING
    10
                                  AFTERNOON SESSION
    11
                    BEFORE THE HONORABLE GEORGE C. HANKS, JR.
    12
                          UNITED STATES DISTRICT JUDGE
    13
                                          DAY 3
    14
    15    *******************************************************

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    15 Proceedings recorded by mechanical stenography.
    16 Transcript produced by computer-assisted transcription.
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                              EVATT TAMINE - CROSS BY MR. VARNADO


            1 A.    That's correct.
            2 Q.    And I'm correct that an entity named Regency owns
            3 those properties in Colorado?
            4 A.    That is correct.
01:07:13    5 Q.    And you are the director of the trust company that
            6 serves as the trustee for the entity that owns Regency; is
            7 that fair?
            8 A.    Yes.
            9 Q.    Okay. Now, the companies within Regency that own
01:07:23   10 these properties in Colorado are U.S. companies. Correct?
           11 A.    That's right.
           12 Q.    All right. And the Mountain Queen is owned by
           13 Mountain Queen, Inc., a Colorado company?
           14 A.    That's correct.
01:07:33   15 Q.    All right. And the other Colorado properties are
           16 owned by Hinkey Property, LLC, which is owned by Hinkey
           17 Holdings, both of which are Colorado companies?
           18 A.    Yes.
           19 Q.    All right. And, as U.S. companies, these entities
01:07:44   20 are known and have exposure to the Internal Revenue
           21 Service?
           22 A.    That's correct.
           23 Q.    Now, at one point after you assumed role of trustee
           24 for the AEBCT, Mr. Brockman was paying rent on a per-usage
01:07:58   25 basis for the Mountain Queen. Correct?

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            1 A.    That's correct.
            2 Q.    All right. And, as trustee for the AEBCT, you told
            3 Mr. Brockman that he actually needed to pay rent on these
            4 properties year-round instead of on a per-use basis
01:08:10    5 because no one else was using those properties. Correct?
            6 A.    One part of that is incorrect. You said trustee, the
            7 AEBCT. That has nothing to do with those properties.
            8 That trust has no part in the ownership of those -- of
            9 those properties.
01:08:24   10 Q.    Thank you for that clarification. That was a
           11 misstatement on my part. I appreciate that.
           12                    So, for the trust entity that does own
           13 those properties, in any -- which is not the AEBCT, as we
           14 just established.
01:08:38   15 A.    That's correct.
           16 Q.    But you had informed Mr. Brockman that it would be
           17 appropriate for him to pay year-round rent on that
           18 property, the Mountain Queen, instead of just on a per-use
           19 basis. Correct?
01:08:48   20 A.    That's correct.
           21 Q.    All right. And he agreed to this requirement?
           22 A.    Yes.
           23 Q.    And the rent is based on a fair market value?
           24 A.    Yes. Assessed -- we re-assess it every year.
01:09:01   25 Q.    That was my next question --

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            1 other people to use?
            2 A.    Yes.
            3 Q.    Okay. All right. So, I want to -- I think you made
            4 some statements both to the Grand Jury and in your
01:18:04    5 meetings with the government. It's fair to say that
            6 Mr. Brockman has some level of distrust with certain
            7 agencies within the federal government?
            8 A.    That's correct.
            9 Q.    And in particular the IRS?
01:18:12   10 A.    Yes.
           11 Q.    And I think you said that, in your view, Mr. Brockman
           12 viewed the IRS as part of the deep state?
           13 A.    I'm not sure about the phrase "deep state." He -- he
           14 viewed them with distrust. He didn't believe that the IRS
01:18:25   15 is an organization that behaved properly, or at times,
           16 lawfully.
           17 Q.    And, in fact, believed that the IRS may seek to
           18 inappropriately assess income tax that he, in his mind,
           19 believed did not owe income tax on?
01:18:38   20 A.    That's correct.
           21 Q.    All right. And I guess the fact that Mr. Brockman
           22 has a distrust of the IRS is not, in and of itself, a
           23 crime itself.
           24 A.    No, not that I'm aware of.
01:18:48   25 Q.    And do you have an understanding that Mr. Brockman 's

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            1 distrust of the IRS may have stemmed from an audit
            2 experience that Mr. Brockman had in the 1990s?
            3 A.    I believe it's stemmed -- well, in my experience, in
            4 discussions with him, from two things: certainly an audit
01:19:03    5 experience in the 1990s, and the experience of someone he
            6 worked with at Reynolds and Reynolds who had a bad
            7 experience with them.
            8 Q.    In an audit of their affairs?
            9 A.    I believe it was in an audit of their affairs, yes.
01:19:15   10 Q.    And, in fact, your first introduction to Mr. Brockman
           11 stems from that audit that I referenced from the 1990s.
           12 Is that fair?
           13 A.    That's correct. Yes.
           14 Q.    And that's when you were a lawyer working for Cox
01:19:25   15 Hallett when you first learned of or met Mr. Brockman in
           16 around 1999 or 2000?
           17 A.    Yes.
           18 Q.    All right. And part of your duties for the law firm
           19 at that time: You helped respond to requests for
01:19:36   20 information concerning the AEBCT as a result of that audit
           21 that was going on back in the '90s?
           22 A.    Yes. It was an information request from the IRS.
           23 Q.    And part of your job was to respond with information
           24 that should be turned over as a result of that inquiry?
01:19:51   25 A.    Yes.

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            1 Q.    All right. And one of the documents you said that
            2 should be turned over to the IRS was the trust indenture
            3 document setting up the AEBCT?
            4 A.    That's correct.
01:20:00    5 Q.    And in connection with this audit, then, the IRS
            6 gained visibility into the structure of the AEBCT at that
            7 time?
            8 A.    Yes.
            9 Q.    So, you were asked some questions about some
01:20:12   10 donations and some questions about Baylor University and
           11 Baylor Medical College, and want to be just very clear on
           12 the timing of some of those discussions. All right?
           13 Because I think you were shown a document -- a particular
           14 government exhibit that had a 2015 date on it and then we
01:20:28   15 jumped back in time to the establishment of the actual
           16 25-million-dollar donation. So, I just want to orient you
           17 in time. Okay?
           18                    So, I am showing you what's been marked as
           19 Government's Exhibit 16 -- I am just going to put it on
01:20:39   20 the ELMO here -- and it's dated June 5th of 2011. And can
           21 you see it on -- I am not going to ask you a lot of
           22 questions. You don't need to be looking at the binder if
           23 you can read it --
           24 A.    Just my eyesight is not great; so, I'll get up close.
01:20:57   25 Q.    As long as you can see it.

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            1               MR. VARNADO: I can ask him if he said this,
            2 Your Honor.
            3               THE COURT: You can ask him and you can always
            4 use it for impeachment.
01:27:52    5               MR. VARNADO: Sure.
            6 BY MR. VARNADO:
            7 Q.    Mr. Tamine, did you state, "At no time while I was
            8 working for Mr. Brockman did I believe that Mr. Brockman
            9 was engaged in criminal tax evasion as alleged in the
01:28:00   10 indictment?"
           11 A.    Yes.
           12 Q.    And just this weekend did you tell the United States
           13 government that you believed that Mr. Brockman is, quote,
           14 innocent of the charges?
01:28:07   15 A.    Yes.
           16 Q.    And did you tell the United States government that,
           17 quote, Mr. Brockman did everything properly?
           18 A.    I believe so, yes.
           19 Q.    And that he, I quote, never took a cent, end quote,
01:28:19   20 from the AEBCT?
           21 A.    That's right.
           22 Q.    And you also told the government that some of the
           23 information in the indictment is factually wrong?
           24 A.    To my mind, yes.
01:28:28   25 Q.    And did you tell the United States Government that

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                             EVATT TAMINE - REDIRECT BY MR. LANGSTON


            1 the bank fraud case against Mr. Brockman is, and I quote,
            2 crap?
            3 A.    I don't think I used the word "crap."
            4 Q.    It's in the memo I received.
01:28:37    5 A.    Oh, I am -- I might have said something else. A lot
            6 of bunk or something. I don't think I used -- I might
            7 have said crap. I don't recall saying it.
            8 Q.    Crap or bunk?
            9 A.    Yeah.
01:28:46   10 Q.    One of the two?
           11 A.    Yes.
           12               MR. VARNADO: Okay. Pass the witness.
           13               THE COURT: Redirect?
           14               MR. LANGSTON: Yes, Your Honor.
01:28:54   15                       REDIRECT EXAMINATION

           16 By MR. LANGSTON:
           17 Q.    Mr. Tamine, let's explore your belief that you
           18 believed everything that you did was legal.
           19                    And if I understand your testimony, you
01:29:14   20 believed it was legal both in Bermuda and in the United
           21 States?
           22 A.    I -- I don't know about the U.S. I can only talk
           23 about Bermuda.
           24 Q.    Okay. But you didn't view yourself as a criminal?
01:29:25   25 A.    No.

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            1                  COURT REPORTER'S CERTIFICATE
            2
            3     I, Kathleen K. Miller, certify that the foregoing is a
            4 correct transcript from the record of proceedings in the
            5 above-entitled matter.
            6
            7 DATE: 11/20/21              /s/        _Kathleen K. Miller
            8                             Kathleen K. M i l l e r, RPR, RMR, CRR
            9
05:10:11   10
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07:57:22    1                UNITED STATES DISTRICT COURT
            2                 SOUTHERN DISTRICT OF TEXAS
                                       _ _ _
            3
               THE HONORABLE GEORGE C. HANKS, JR., JUDGE PRESIDING
            4 _____________________________________________________
              USA,                         No. 4:21-CR-00009-1
            5
                              Plaintiff,
            6
              vs.
            7
              ROBERT T. BROCKMAN,
            8
                             Defendant.
            9 _____________________________________________________
                     COMPETENCY HEARING -- DAY 3 AM SESSION
           10
                  OFFICIAL REPORTER'S TRANSCRIPT OF PROCEEDINGS
           11
                                  Houston, Texas
           12
                           WEDNESDAY, NOVEMBER 17, 2021
           13 _____________________________________________________
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           23                           KATHRYN KENEALLY, ESQ., Attorney
                                        at Law
           24
           25 For the                   n/a
              Interpreter:
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     1
         Reported by:           Sean Gumm, RPR, CRR
     2                          Official Court Reporter
                                United States District Court
     3                          Southern District of Texas
                                sean_gumm@txs.uscourts.gov
     4
     5 Proceedings recorded by mechanical stenography.
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                         SEAN W. GUMM, CSR #13168, RPR, CRR

               PEOPLE vs ROBERT T. BROCKMAN, CASE NO. 4:21-CR-00009-1
                 *** Reproduction only per Govt. Code §69954(d) ***
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12:10:55    1 Q.   In fact, you told the Government this weekend
12:10:57    2 that Mr. Brockman, and I quote, "Never took a cent
12:11:01    3 out of the trust," the AEBCT?
12:11:03    4 A.   That's correct.
12:11:04    5 Q.   Now, the most significant asset of the AEBCT is
12:11:07    6 Reynolds and Reynolds; correct?
12:11:08    7 A.   Yes.
12:11:09    8 Q.   That's a US-based company?
12:11:10    9 A.   Yes.
12:11:11   10 Q.   And it's owned by Universal Computer Systems
12:11:15   11 Holdings; right?
12:11:16   12 A.   Yes.
12:11:16   13 Q.   You are aware that entity files US taxes?
12:11:18   14 A.   Yes.
12:11:19   15 Q.   And the same for Reynolds and Reynolds; it
12:11:22   16 files US taxes also?
12:11:23   17 A.   Yes.
12:11:24   18 Q.   And then, again, Dealer Computer Services,
12:11:27   19 which is in the hierarchy, that is also a US entity?
12:11:30   20 A.   Yes.
12:11:31   21 Q.   That files US taxes?
12:11:32   22 A.   Yes.
12:11:32   23 Q.   All right.      So while you were a director at
12:11:35   24 St. John's Trust Company, during the last eight
12:11:38   25 years or so is when you had the director position --
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     1                      C E R T I F I C A T E
     2
     3
     4             I hereby certify that pursuant to Title 28,
     5 Section 753 United States Code, the foregoing is a
     6 true and correct transcript of the stenographically
     7 reported proceedings in the above matter.
     8             Certified on 11/17/2021.
     9
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    11              Sean Gumm, RPR, CRR
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